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                           UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA



UNITED STATES OF AMERICA,                               Criminal No. CR -12-295 PAM/AJB
          Plaintiff,

v.                                                      ORDER

Eric Wade Forcier (1),

              Defendant.


              The Defendant appeared for arraignment on December 7, 2012. Amber

Brennen, Assistant U.S. Attorney, appeared on behalf of Plaintiff United States of America;

Kyle White, Esq, appeared on behalf of Defendant.

              The Defendant waived the reading of the Indictment and entered a plea of not

guilty to all Counts.

              The Government shall make disclosure of all Rule 16 material on or before

December 13, 2012. Motions shall be filed on or before December 21, 2012. Oral argument

on these motions will be heard before Chief Magistrate Judge Arthur J. Boylan in Courtroom

9E, U.S. Courthouse, 300 South Fourth Street, Minneapolis, Minnesota, on January 2, 2013

at 1:30 p.m. If Defendant's pleadings show that an evidentiary hearing is required, it will be

held at the same time and place.

              Voir Dire and Jury Instructions shall be filed with U.S. District Court Judge

Magnuson's Clerk on or before February 4, 2013 Trial will commence before Judge Paul A.

Magnuson in Courtroom 7D, U.S. Courthouse, 316 North Robert Street, St. Paul, Minnesota

on February 11, 2013 at 9:00 a.m.


Dated: December 5, 2012                            s/ Jeanne J. Graham
                                                 JEANNE J. GRAHAM
                                                 United States Magistrate Judge
